






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00030-CR






In re Mary Belton




David Wayne Casey, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE CRIMINAL DISTRICT COURT OF DALLAS COUNTY


NO. F-0036978-SH, HONORABLE JANICE L. WARDER, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to David Wayne Casey's appeal from a
judgment of conviction for sexual assault.  The subject of this proceeding is Mary Belton, court
reporter for the Criminal District Court of Dallas County.

The reporter's record was originally due to be filed on February 4, 2003.  On February
24, 2003, the district court ordered the reporter to prepare the record at no cost to appellant.  On
March 19, 2003, this Court notified the reporter that the record was due no later than April 24, 2003. 
On May 27, 2003, this Court ordered the filing of the record no later than June 20, 2003, but did not
correctly name the reporter.  On July 25, 2003, the record still not having been received, the Court
ordered Mary Belton to tender the record for filing no later than August 22, 2003.  She failed to
tender the record as ordered.

On August 25, 2003, the Court ordered Mary Belton to appear before it on September
10, 2003, to show cause why she should not be held in contempt and sanctions imposed for her
failure to obey the July 25, 2003, order of the Court.  On September 8, the Court received a letter
from Belton, her first communication to this Court.  In the letter, she requested a postponement of
the show-cause hearing and promised that the record in this cause would be tendered for filing on
September 22, 2003.  The Court granted the postponement.  The record was not received.

On October 16, 2003, Belton was ordered to appear before the Court on October 29,
2003, to show cause why she should not be held in contempt for violating the July 25, 2003, order. 
Once again, she has asked for a postponement of the hearing.  The request is granted.

Mary Belton is hereby ordered to appear in person before this Court on the 3rd day
of December, 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price Daniel,
Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to show
cause why she should not be held in contempt and sanctions imposed for her failure to obey the July
25, 2003, order of this Court.  The order will be withdrawn, and the said Mary Belton will be
relieved of her obligation to appear, if the Clerk receives the completed reporter's record no later
than November 5, 2003.  No further postponement of the hearing will be granted.

It is ordered October 28, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson

Do Not Publish


